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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

                    Criminal No.           19          -    143(PJS/BRT)


UNITED STATES OF AMERICA,               )
                                        )
                                        )
                                        )
                             Plaintiff, )               DEFENDANT’S OBJECTIONS TO THE
                                        )               PSR AND SENTENCING POSITION
                 V.                     )
                                        )
                                        )
PHELIXIS FITZGERALD MAR ROBINSON,       )
                                        )
                                        )
                           Defendant. )




               DEFENDANT’S POSITION REGARDING THE GUIDELINES


    (1) Premises


        The government affirms that the premises enhancement of U.S.S.G section 2D1.1 is valid

 and ought to enhance the defendant’s sentence.       Because the guidelines are advisory, any

 mechanical application of a provision would surreptitiously reprise their obligatory application.

 The question therefore is not strictly whether the enhancement is applicable but whether it

 rationally aggravates the act for which the defendant is being sentenced. The Court has the

 ability to second guess the wisdom of applying the enhancement, rather than being obliged to

 follow it blindly because a deliberative body suggests it as an enhancement.


        The count to which the defendant pled guilty assumes a quantity of a controlled substance

 meant for distribution. The use of a premises for that does not add any meaningful aggravation


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to the count which already assumes an amount meant for distribution. In virtually every case of

distribution a person uses various instrumentalities. A premises does not rationally add any

meaningful data on what is already an assumption in the count itself: the defendant was selling

drugs. It singles out one instrumentality - a premises - arbitrarily for punishment. It is as

arbitrary as identifying a motor vehicle, a mobile phone, or any other instrument by which a

person distributes contraband. Anyone who distributes contraband uses various devices and

expedients; there is nothing about a premises that adds any meaningful information to that which

is already included in the count itself. This was not a premises where children or any others

were endangered.


       It is hardly meaningful to suggest that storage of contraband adds information about a

generic distribution crime that has the rational effect of making such a crime worse. It would be

a nearly self-evident assumption that a person with a certain amount of contraband would store it

somewhere. That it is enclosed adds nothing since a certain amount of secrecy would routinely

attend any on-going, illegal act. No one distributes drugs in plain sight.    In sum, it appears

almost opportunistically punitive to aggravate a punishment based on what is a normal, expected

and routine incident of distributing contraband and the court should decline to apply the

enhancement.


   (2) Criminal History


       The guidelines are not clear whether they intended to punish logically lesser-included,

acts as if they were separate acts. In Mr. Robinson’s 2003 attempted murder case, the register of

actions shows that on January 22, 2003, the Illinois court originally sentenced Mr. Robinson for

a series of crimes (See Attached Case Summary). On February 11, 2003, upon Mr. Robinson’s
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motion, the court re-sentenced him by “merging” the indistinct lesser included crimes into a

single sentence. Even according to the Government’s paraphrase of the rule: “prior sentences

resulting from offenses contained in the same charging instrument or imposed on the same day”

does not warrant additional points to enhance a sentence.         Technically, because the court

ultimately re-sentenced the defendant on a different day, it was not in compliance with the rule

as the Government understands it. The second consideration is that if the sentences merge, they

become one sentence and not separate and that nullified the application of the rule. Moreover,

sentencing a defendant to a complex, serious crime results in double punishment because it

sentences for both the top count and any logically included lesser count even though they

happened in a single behavioral incident. To do so would violate the same principle forbidden

by double jeopardy. See Blockenburger v. United States, 284 U.S. 299 (1932). It would violate

double jeopardy because it imposes a harsher sentence for common elements. Further, the crime

was a single act and the underlying lesser included could not, under a double jeopardy analysis,

ever be charged or tried again. Those same considerations should not result in an enhanced

punishment because they are not distinct acts, but elements of a single act.


   (3) The Gun


       The burden is on the government to prove the gun was connected to the drug offense.

See United States v. Anderson, 618 F. 3d 873 (8th Cir. 2010). Here, the defendant clearly

constructively possessed the guns, but no other evidence exists to show they were connected

with the crime other than reiterating possession itself. What connects them to the crime is only

possession itself.   There is no evidence he carried them as an aid to selling drugs, ever

brandished them or otherwise employed the guns in connection with the actual distribution of

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contraband. Here, the Government is relying on a serious assumption: guns and drugs have an

elective affinity; that one who possesses guns in the same space as drugs must have intended

them for use in connection. In essence, the Government is using possession to prove both

possession and use. Use is a distinct element of proof from possession and it would undermine

the logic of the test devised by the 8th Circuit in Anderson to conflate them. There is no evidence

beyond mere possession that the guns were used in connection with drug dealing.               Any

observation of the defendant using the guns during an act of distribution is lacking in this case

and for that reason the Government has failed to prove the connection of the guns to the drugs.


                            Conclusion and Appropriate Sentence


       There is no question that given the facts of this case and the criminal history of the

defendant here merits a serious sentence. The sentence should not, however, be informed by

consideration of the premises, the criminal history points calculation and the gun possession. To

determine what is an appropriate sentence is difficult to quantify in any precise manner. The

defendant wishes the court to bear in mind the following facts. First, the demonstration of

remorse is replete with insight. He admits his wrongdoing, and while not excusing himself

mentions the medical treatment for his sister. Of course, he knew it was wrong but the decision

to do it anyway was the result of a temporary situation he did not bring about and would

legitimately explain the pressures which resulted in his abrogation of judgment. His statement to

the court in the PSR contains this very insight. The defendant is also aging. Older people

commit fewer crimes and it is less likely that after a term of incarceration the defendant will

approach that age where criminal activity is far less probable. At some point, long prison

sentences become counter-productive. The more one remains confined, the less a person can

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cope normatively with the normal stresses and pressures of life outside a penal institution. The

defendant has some support and it is submitted that the court impose a sentence that deters

others, deters the defendant but provides some chance for him to complete rehabilitation and

surrender a life of crime to his past.


        The defendant’s total offense level should be 31 not 33 as the PSR applies. Absent proof

the guns were connected to the drug offense, Mr. Robinson should not receive a 2 point

enhancement. Furthermore, the PSR has incorrectly applied 3 points to Mr. Robinson’s criminal

history score by effectively giving him 3 additional points for lesser included offenses that

“merged” with his previous attempted murder conviction.         The three additional crimes of

violence should not be included here because they involved the same victim, the same course of

conduct and were “merged” as a result of a matter of law (not by a judge’s discretion). As such,

Mr. Robinson’s criminal history category should be calculated as a level II and not a level III as

stated in the PSR and argued by the Government in their sentencing memorandum. An offense

level of 31 and a criminal history category of II puts Mr. Robinson’s guideline sentence at a

range of 121-151 months. If the court agrees that the premises enhancement is opportunistically

punitive and declines to apply the enhancement – Mr. Robinson’s guideline sentence is more

accurately and realistically reflected by a range of 97-121 months. The bottom of the former

guideline range and the top of the latter are both 121 months. Defendant respectfully asks this

court to sentence him to just that, which is incidentally almost identical to the mandatory

minimum sentence required by law of 120 months.


                                                     Respectfully submitted,

                                               s/Brian P. Karalus

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Dated: February 4, 2019
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